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PROUD BOYS MEET-UP
Stations of the Congregation

STATION 1

BOLD TYPE IS NOT TO BE READ ALOUD

BEFORE THE MEETINGS BEGIN, CLEAR THE AREA OF ALL WOMEN
. AND OF MEN WHO ARE NOT AT LEAST FIRST DEGREE.

IF “DOORS” CANNOT BE CLOSED, THE PROUD BOYS ASSEMBLE TO
AN AREA THAT IS AS SECLUDED.AS POSSIBLE. THIS AREA IS
PROTECTED BY TWO MAIN GUARDS WHO ARE ASSIGNED TO

_MONITORING THE PERIMETER. THE FOLLOWING IS TO BE READ

 

ALOUD BY THE BROTHER IN CHARGE.

- Brothers, we are about to open this council in the first section. All

persons not having received the honors of membership in the first
dégree shall, please retire from the chamber. The doors shall now be

closed and the guards assume their positions.

Brothers, do you vouch that all present are in possession of 1st degree

‘membership?

ALL MEMBERS SAY “YES SIR” "

Repeat after me.

_lama Western chauvinist...

WAIT FOR MEMBERS REPEATING STATEMENT

who refuses to apologize...

WAIT FOR MEMBERS REPEATING ST ‘ATEMENT

‘for creating the modern world.

WAIT FOR MEMBERS REPEATING STATEMEN T

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New members raise your hands. Welcome gentleman, to the greatest
fraternal organization in the world. What happens at this meeting is.
only to be discussed among other Proud Boys and only if they are your
degree or higher. You are our brother, now. We have your back as you
have ours. We don’t care what race you aré or what your sexual oo
prefererice is. The only pre-requisite of this organization is that you are

’ aman and you recognize the West is the best. —

We will commence this meeting by reading a passage from Pat
Buchanan’ s The Death. of the West.

NOTE: NON-AMERICAN CHAPTERS SHOULD NEGLECT TO RECITE |
THE ITALICIZED SENTENCE AT THE END OF PARAGRAPH TWO

“As fair-minded and mostly Christian folks, [we] concede that there is

truth in tle indictment of America's past. Our fathers did participate in __

slavery. We did practice segregation. Our treatment of the Indians was © ~

not what one should have expected of people to whom the Sermon on

the Mount was divine command. But, having internalized a guilt that
_gnaws at their souls, these Republicans, in their lifelong quest for

absolution, are easy prey for confidence men like Jackson and Sharpton

who f run the Big Sting.

: “The truth? In the story. of slavery and the slave trade, Western Man was
among the many villains, but Western Man was also the only hero. For
the West did not invent slavery, but it alone abolished slavery. Had it

not been for the West, African rulers would still be trafficking in the
flesh of their kinsmen. Slaves, after all, were the leading cash crop of the

friends of Mansa Musa. In Mauritania and Sudan today, slavery has
returned, to the deafening silence of intellectuals who have built careers

on the moral shakedown of America and the West. America was a
_ segregated society, but in no other nation do people enjoy greater
_ freedom, opportunity, and prosperity than here in the United States. —

“The time for apologies is past. But if Middle America believes that

_ capitulations and reparations will buy peace in our time, it deludes
itself. If tiere were no more demands, the race tacketeers would have to
find a new line of work. But'as long as the silent majority keeps acceding
to their demainds, they will keep on making them. Time to just say no. -

 
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RAISE A GLASS AND SAY, “A toast to the greatest civilization on earth.
_ and the men who built it. UHURU?

EVERYONE SAYS “UHURU?

I would also like to make a toast to the entrepreneurs who risk
everything to improve our lives..

TO THE ENTREPENEURS
EVERYONE SAYS “TO THE ENTREPENEURS”

And to the housewives that create human life, shape it it, and build the
* communities in which we live.

TO THE HOUSEWIVES
EVERYONE SAYS “TO THE: HOUSEWIVES”

Toftee speech the #1 amendment

TO FREE SPEECH

EVERYONE SAYS “TO FREE SPEECH”
And to our guns, the #2 amendment
“TO GUNS
EVERYONE SAYS “TO GUNS”

To the heroes who answered their country’ s call and ultimately laid down their’
life SO. we may maintain our great society."

"+ To the: veterans and our ‘honored dead

EVERYONE SAYS "TO THE VETERANS AND OUR HON (ORED-DEAD!"

And finally, to the parasites both on the streets and in the White House
who want to. attack us and take what we earn. To the trespassers who
want to sabotage our culture our family and our way of life. You want a
. war? Well, you've got one. To all of our enemies both high and low.

 
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EVERYONE SAYS “BRING IT ON!”

Brothers, before we close this meeting, are there any matters we need
to settle before the Sharia court? If you feel you have been wronged by
another brother or someone has been unfairly banished or any other
grievance, let it be heard. now before me and we will settle it like men,

BROTHER WITH GRIEVANCE PRESENTS iT. DEFENSE IS HEARD.
DECISION IS MADE. NOTE: IF THE DEFENDANT ISN’T PRESENT, HE
EITHER SUBMITS HIS DEFENSE TO THE JUDGE IN ADVANCE OR THE

CASE WILL NOT BE HEARD.

The matter is now settled. We remain as brothers. First, degrees who
wish to get their second degreés raise their hands. We will be
performing second degrees throughout the night.

I now declare this meeting adj ourned. Raise your glass.
- UHURU!

PROUD OF YOUR BOY! °

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Naf. . ° xe
“ nee

THE ABOVE READING Is ALL THAT'S : REQUIRED OF A pROUD- -BOYS |
MEET UP. THE FOLLOWIN G STATIONS ARE ENCOURAGED BUT. NOT

’ MANDATORY.

STATION 1 SHOULD BE PRINTED OUT AND BROUGHT TO ALL
MEET-UPS. THE FOLLOWING STATIONS ARE NOT MANDATORY

AND ARE JUST NOTES TO HELP. UNDERSTAND THE ORGANIZATION. _

. -NOTE: THE SECRET HANDSHAKE OBVIOUSLY CAN'T BE PRINTED
’ OUT HERE. THIS WILL'BE MADE AVAILABLE TO YOUR CHAPTER _ .
‘UPON CONTACT WITH THE ELDERS. TALK TO A BRD DEGREE IN THE

NYC CHAPTER.

 
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STATION 2

PROUD OFYOURBOY. ~

IT IS HEALTHY TO SING OUR ANTHEM AT LEAST ONCE A NIGHT BUT
“THIS ISN’T ALWAYS POSSIBLE. IDEALLY WE SEEK OUT VENUES THAT
HAVE A JUKEBOX WITH THIS SONG AVAILABLE, .
‘ : Proud: of ‘your: boy: - mor
oo LW ana: you proud of; your: toy:
oo Bélieve me; bad as I've been, Ma.
: Youre re in ‘for: a pleasant swiprise’

     

 

cE ~ five wasted tittie
os 2h T've wasted me 7)
“Bo: aan i ‘ot slow. for miy abe.

      
    
  

mnt | ~ avr ° :
: Messin’ "UBS ‘sctewin' 1 up tines.

“You's see, Man Tow comes the better part Celis pgs
" Someone’ 's gonna make’ good Pe
“Gross his stupid. heart -.
Me ‘good and finally iiake you~
_ Proud ofy your boy.

 

   

 

 

 

 

 

 
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I'llimakeé'you proud:of your. boy
. Though I can't: make myself: taller So
OF shiarter or; r handsonie:o or wise. a me
“i! 1 don my. y best, what aise c can I a7 2.
Since I wasn’ t born ‘perfect | like. Bad ¢ or you:

“Mom; I will try.to: « a

* pny hard to make you a3 ee

‘Proud-of:5 your. boy |

| STATION 3
_ HOW TO|PERFORM THE THREE DEGREES
FIRST DEGREE

All that’s required here is that the Proud Boy publicly ‘declares the
following: “I ama Western chauvinist who refuses to apologize for

creating the modern world.”

“Public” is open to interpretation We don’t allow anonymous
contributions to the Proud Boys because that isn’t “Proud” (we also
don’t except trans men because they aren’t "Boys’).”

It is up to that chapter’s discretion to determine how public the first-
degree declaration is. At the very least, it must be said on video and
submitted to the chapter. At the very most it is said in every possible

_ public platform available.
SECOND DEGREE.

Five Cereals
“The Counter” a brother, not involved in the fight who counts each

cereals after determining its validity leads this ritual.
Before the punching starts, the prospect has to repeat his first-degree
oath: “I am a Western Chauvinist who refuses to apologize t for creating —

 
 

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the modern world.” Then the counter says, “You will now list five ©
breakfast cereals.” , mS
While the prospect recites the cereals, five Proud Boys must pound him.
Shots to the head and below the belt are discouraged but not against the
rules. The proud boy receiving his licks is not meant to fight back
though doing so does not negate his second degree.
After the beating, the brother gets 4 hug from The Counter as he says
“Welcome aboard” and everyone says, “Proud of your boy” several
times. - . ,
Proud Boys in secluded areas have tried-to have friends give them their
second degree and submit it to a chapter for verification. This doesn’t
work. Those in remote areas have to create their own chapter and make
sure the five men punching them are at least 1st degree Proud Boys.

No Wanks
A Proud Boy may not ejaculate alone more often than once every thirty

days. That means he must abstain from pornography during that time
and if he needs to ejaculate it must be-within one yard of a woman with
her consent. The woman may not be a prostitute. .
This is our religion and our pope is the religion’s founder, Dante Nero.
Men who are away from their wives for extended periods of time has
‘requested video conferencing as a way around the one-yard rule. This is-

“not allowed.

THIRD DEGREE

You need the words “Proud Boy” tattooed anywhere on your body and
you must preserve the tenets of your first and second degree. There are
“no rules on how the words must look though the norm is to pursue the

traditional tattoo font of yore..

: FOURTH DEGREE

- This degree is loosely defined as “engaging in a major conflict for the ‘-
cause.” Being arrested is not encouraged although those who are
‘immediately become fourth degrees because the court has registered a -
major conflict. Serious physical fights also count and it’s up to each: |
chapter to determine how serious the conflict must be to determine

fourth.

 
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This regulation is not retroactive and it only counts events that occurred
after a brother was declared a proud boy.

SKIPPING DEGREES .
If someone gets a third degree before their second degree, the third

degree is placed in a form of stasis until the previous degrees can be
completed. This also works with those who get a fourth before their
third. If the previous degrees are never completed, the degree remains

in'stasis.

STATION 4.
Our Politics

‘We are not'a political group. We are a fraternal brotherhood like the
Elk’s Lodge or the Shriners. We are a multi-racial group thatis socially
liberal and welcomes gay members. Again, our only non-negotiable rule
is that you are a Western chauvinist who refuses to apologize for ,
creating the modern world (much confusion revolves around the word
chauvinist as women ténd to assume it means “sexist” - itmeans “a
person displaying aggressive or exaggerated patriotism”). Almost all our

" members are pro-Trump but there are exceptions (our pope being one -

of them). a

We disavow Nazis and don’t want them at our meet-ups. We disavow

racists and don’t want them at our meet-ups. We allow weak, beta male

virgins to join because our fraternity is about helping men improve their
lives and that includes all men. If, however, a Proud Boy refuses to step

' up to the plate -ifhe doesn’t heed our advice and try it - ifhe doesn’t

assimilate and engage with the group, he will be asked to leave.

* Our founder Gavin Mcinnes (peace be upon him).often cites his “10
Ways to Save America” list’as a compendium of proud Western beliefs.
Brothers don’t have to ascribe to all of these but it does provide a good.

idea of where we stand. .

. 4- ABOLISH PRISON:

 
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There are too many men in prison right now and we need to fix this
mass incarceration problem. This obviously doesn’t mean bust open the
gates right now. It means we need to start going in the opposite
direction and recognize the people Wwe are putting in cages are human

. beings.
The following points lend themselves back to this one.

2- GIVE EVERYONE AGUN |
Not for free, obviously but gun laws are £00 strict in about 80% of the

country and 90% of the Western world. Right now it's mostly bad guys
who have guns. Good guys need them too. This will help prevent crime.

3- LEGALIZE DRUGS
The drug war is a failure. Take away the profits from drugs and you take

‘away gangs and soon prisons are losing their best customers.

4 END WELFARE
Right now we have incentivized single mothers. This has shattered

families, especially poor families. Stop rewarding single mothers for
leaving their husbands and we get the family back. With fathers comes
discipline and employment. With jobs comes less crime.

5- CLOSE THE BORDERS

We have strayed fro a merit-based immigration policy and have
replaced it with open borders. We need to build a wall and encourage
assimilation. No more Spanish ; schools or Chinese schools. Everyone

speaks English and patriotism is encouraged.

6- OUTLAW CENSORSHIP
The West has thrived with the checks and balances open discussion

provides. Without it, fascism thrives. We need to fight for free speech

_ not just against the government but against the people who want to shut
it down. We are now policing ourselves worse than Big Brother. That

needs to stop. Free speech includes all speech - good and bad - anda .

huge part of this brotherhood is making sure nobody is prevented from

speaking. This is arguably our most important cause.

7- VENERATE THE HOUSWIFE

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al

 
   
 

 

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Proud Boys are encouraged to put a ring on it and knock her up. We |
- need to make more Proud Boys. The young are encouraged to sow their
wild oats but as we get older, committing to a family becomes more and

more important.
With the family, comes a deep respect for the housewife. We push back

against the feminist notion that shaping human lives is somehow
“selling out.” We see housewives as sentient beings who have an

incredible gift.

8- GLORIFY THE ENTREPENEUR

Western liberalism scoffs at the rich and those who put it all on the line
to improve our lives. We recognize the incredible sacrifice this takes and
we are in awe of all the great entrepreneurs throughout history who got

us here.

9. RECOGNIZE THE WEST IS THE BEST .
This is just a hate fact. America was not stolen from the Indians and it

was not built on slavery. Europe and Britain were not built on
colonization. We fought hard to be #1 and we won. All other cultures
are not merely different than us. They are worse.

' 10-SHUT DOWN THE GOVERNMENT :
We have no respect for the institutions that rob us of our hard-earned .
‘wages. We don’t expect:another man to handle our freedom and
determine our. destiny. We may-not be anarchists but we always want

the government brought down to the absolute minimum.

STATION 5
THE END

‘This should serve as a general guide for starting your own chapter.
There has been a lot of talk about whether Muslims should. be allowed.

‘in. The elders have not settled this nor will they talk about an
antiquated ban on “Abbos.” ,

 

 
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There are other general guidelines that don’t matter. We hate flip-flops
and cargo shorts. Fedoras are banned. We like to. stick-to classics like
Levi's, Chuck Taylor, Vans Eras, Clarks desert boots, J Crew wingtips,
Pendleton, Woolrich, Filson, and Ray Bans. We encourage Proud Boys to
be well dressed in collared shirts especially when talking to the media.
The uniform (which is not mandatory. but highly encouraged for rallies)
is‘a black Fred Perry polo with gold piping, A goal for the club is for
people who try to shut down free speech to feel a deep sense of fear
when they see the black and gold appear at a rally. It signifies a group of |

men who are prepared to fight back.

Arecommended shoe is the black Red Wing classic moccasin toe boot.
Bootleg Protid Boys t-shirts are all over the Internet and there is no
official one as of yet. We encourage the free market and enjoy seeing
Proud Boys benefit from their own club.
Each individual chapters have full autonomy. We strongly believe in -
chapter rights and have no mandatory terms outside of “The West is the
best.” This is not a Gavin McInnes fan club and although the movement
was created via “The Gavin McInnes show,” many members haven’t — °
_ even seen the show. This is about taking our civilization back. This is
about rebuilding the patriarchy. © ,

- There are dozens of chapters and they are all over the world. We have a
Proud Boy in the White House (Lucian Wintrich) and we have Proud
Boys making international headlines as they destroy the left (Mike

_Cernovich, Charles C Johnson). There are charity events, fundraisers,
rallies for free speech, legions of Proud Boys Girls, and even a comedy

tour. We are creating documentaries, shows, podcasts, and magazines
and changing the course of history. It’s an incredible time to be proud of

who you are. We tried shame and apologies. It didn’t work. It’s more
‘than just a “time to say no.” It’s time to fight!.-

UHURU!

 
